                                                                                              Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
                                                                           17AC-CC00435

            IN THE CIRCUIT COURT OF COLE COUNTY MISSOURI

SAVIER KNOX,                                          )
Individually And On Behalf Of                         )
All Others,                                           )
                                                      )
        Plaintiffs,                                   )
                                                      )
vs.                                                   )
                                                      ) JURY TRIAL DEMANDED
FIRST ADVANTAGE BACKGROUND                            )
SERVICES CORP.                                        )
Registered Agent:                                     )
CSC-Lawyers Incorp. Service Co.                       )
221 Boliver Street                                    )
Jefferson City, MO 65101                              )
                                                      )
        Defendant.                                    )

                                      COMPLAINT

        COMES NOW the Plaintiff, Savier Knox, individually, by and through counsel

and on behalf of the Putative Class set forth below, and in the public interest, brings the

following class action Petition against Defendant First Advantage Background Service

Corp. ("Defendant"), pursuant to the Fair Credit Reporting Act ("FCRA").

                            PRELIMINARY STATEMENTS

1.      Plaintiff brings this action against Defendant for violations of the FCRA.

2.      Defendant is a consumer reporting agency.

3.      Defendant provided Adecco with a consumer report on the Plaintiff.

4.      The consumer report provided to Adecco by the Defendant contained multiple

        inaccuracies.

5.      Plaintiff asserts FCRA claims against Defendant on behalf of herself and a class

        of all individuals for which Defendant produced a consumer report Defendant

        relies on information in a consumer report, in whole or in part, as a basis for




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 1 of 13
                                                                                               Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
        adverse employment action; such as a refusal to hire and/or termination.

6.      Plaintiff asserts FCRA claims against Defendant on behalf of herself and a class

        of Defendant’s employees and prospective employees whose rights under the

        FCRA were violated.

7.      On behalf of herself and all class members, Plaintiff seeks statutory damages,

        punitive damages, costs and attorneys fees, and all other relief available pursuant

        to the FCRA.

                                         PARTIES

8.      Plaintiff Knox is a resident of Kansas City, Missouri.      Plaintiff is a member of

        the Putative Classes defined below.

9.      Defendant is a foreign company doing business in Missouri.

                             JURISDICTION AND VENUE

10.     This court has jurisdiction over Plaintiff’s FCRA claim pursuant to 15 U.S.C. §

        1681p and Article V, Section 14(a) of the Constitution of Missouri.

11.     Venue is proper in this Court pursuant to R.S.Mo. 508.010(4).

                               FACTUAL ALLEGATIONS

12.     Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

13.     Plaintiff applied for employment with Adecco on or about June 14, 2017.

14.    Plaintiff spoke with Ashley who told Plaintiff to come in to apply for a customer

       service position.

15.    Ashley told Plaintiff they had a job available at the company Professional Service

       Industries, Inc. (“PSI”).

16.    Plaintiff was scheduled for an appointment the next day to speak with a




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 2 of 13
                                                                                               Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
       representative from PSI.

17.    Plaintiff was told by the PSI representative that PSI was willing to hire her and she

       was given a start date of June 26, 2017.

18.    Plaintiff called Adecco on or about June 16, 2017, to see if everything was still in

       order.

19.    Plaintiff received a phone call back from Ashely on or about June 20, 2017, telling

       her PSI would not be hiring her because of information contained within her

       consumer report.

20.    The information relied upon to take the adverse action was contained in the

       consumer report provided by the Defendant.

21.     The consumer report issued by the Defendant contains multiple inaccuracies.

22.    The consumer report issued by the Defendant contains duplicate entries of the

       same offense.

23.    The inclusion of duplicate records within the consumer report provides the false

       impression that the Plaintiff has been charged and convicted of four different

       offenses.

24.    The consumer report issued by the Defendant contains a criminal record with a

       case reference number that does not exist.

25.    The consumer report issued by the Defendant contains inaccurate address

       information.

26.    Defendant reported derogatory and inaccurate statements and information relating

       to the Plaintiff.

27.    The manner in which Defendant provided a consumer report on the Plaintiff is




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 3 of 13
                                                                                          Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
       consistent with its policies and practices.

28.    The manner in which Defendant produced a consumer report on the Plaintiff is the

       same or similar method used to obtain consumer reports on other putative class

       members.

29.    Defendant failed to follow reasonable procedures to assure maximum possible

       accuracy of the information concerning the individual about whom the report

       relates in violation of 1681e(b).

30.     Defendant is aware of the FCRA.

31.     Defendant has knowledge that it must comply with the FCRA.

32.     Defendant is required to produce all consumer reports for employment purposes

        in accordance with the FCRA.

33.     The consumer report prepared and produced by the Defendant was not accurate.

34.     A contract for the procurement of consumer reports exists between Adecco and

        the Defendant.

35.     Defendant's multiple violations of the FCRA combined with its knowledge of the

        requirements of the FCRA is evidence that the Defendant's violations were

        willful.

                               CLASS ACTION ALLEGATIONS

36.     Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

37.     Plaintiff asserts the following class defined as:

        Proposed Class: All individuals who were the subject of one or more consumer
        reports that list the same offense multiple times beginning August 24, 2012
        through the conclusion of this matter

                                            Numerosity




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 4 of 13
                                                                                                Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
38.     The proposed class is so numerous that joinder of all class members is

        impracticable. Defendant regularly produces consumer reports on individuals for

        tenant screenings and other purposes. Said reports are produced in a manner that

        is misleading and does not assure the maximum possible accuracy of the

        information in the report. Plaintiff believes that during the relevant time period,

        thousands of individuals would fall within the definition of the Putative Class.

                          Common Questions of Law and Fact

39.     Virtually all of the issues of law and fact in this class action predominate over any

        questions affecting individual class members. Among the questions of law and

        fact common to the class is:

        a.     Whether Defendant properly follows reasonable procedures to assure
               maximum possible accuracy of the information concerning the individual
               about whom the report relates;

        b.     Whether the Defendant follows reasonable procedures to assure the
               information contained in the reports are not misleading;

        c.     Whether Defendant's violations of the FCRA were willful;

        d.     The proper measure of statutory damages and punitive damages; and

                                         Typicality

40.     Plaintiff's claims are typical of the members of the proposed class.    Defendant is

        a consumer reporting agency that produces consumer reports to third parties.

        Defendant produces the reports in violation of the mandates of the FCRA. The

        FCRA violations suffered by the Plaintiff are typical of those suffered by other

        class members and the Defendant treated Plaintiff consistent with other Putative

        Class members in accordance with its standard policies and practices.

                               Adequacy of Representation




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 5 of 13
                                                                                               Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
41.     Plaintiff, as a representative of the class, will fairly and adequately protect the

        interests of the Putative Class and has no interest that conflict with or are

        antagonistic to the interest of the class members. Plaintiff has retained attorneys

        competent and experienced in class action litigation. No conflict exists between

        Plaintiff and members of the class.

                                         Superiority

42.     A class action is superior to any other available method for the fair and efficient

        adjudication this controversy, and common questions of law and fact

        overwhelmingly predominate over individual questions that may arise.

43.     This case is maintainable as a class action under Rule 52 of the Missouri Rules of

        Civil Procedure because prosecution of actions by or against individual members

        of the putative class would result in inconsistent or varying adjudications and

        create the risk of incompatible standards of conduct for Defendant. Further,

        adjudication of each individual class member’s claim as a separate action will

        potentially be dispositive of the interest of other individuals not a party to such

        action, impeding their ability to protect their interests.

44.     This case is maintainable as a class action under Rule 52 of the Missouri Rules of

        Civil Procedure because Defendant has acted or refused to act on grounds that

        apply generally to the class, so that any final relief is appropriate respecting the

        class as a whole.

45.     Class certification is also appropriate under Rule 52 of the Missouri Rules of Civil

        Procedure because questions of law and fact common to the putative class

        predominate over any questions affecting only individual members of the putative




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 6 of 13
                                                                                                Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
        class, and because a class action superior to other methods for the fair and

        efficient adjudication of this litigation. Defendant's conduct described in this

        Complaint stems from common and uniform policies and practices, resulting in

        common violations of the FCRA. Members of the Putative Class do not have an

        interest in pursuing separate actions against the Defendant, as the amount of each

        class member's individual claims is small compared to the expense and burden of

        individual prosecution, the Plaintiff is unaware of any similar claims brought

        against Defendant by any members of the Putative Class on an individual basis.

        Class certification also will obviate the need for unduly duplicative litigation that

        might result the inconsistent judgments concerning Defendant’s practices.

        Moreover, management of this action as a class action will not present any likely

        difficulties. In the interests of justice and judicial efficiencies, it would be

        desirable to concentrate the litigation of all putative class members' claims in a

        single forum.

46.     Plaintiff intends to send notice to all members of the putative class to the extent

        required by Rule 52 of the Missouri Rules of Civil Procedure. The names and

        address of the potential class members are available from Defendant's records.

                                         COUNT I
                                   Violation of the FCRA

47.     Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

48.     Defendant produced a "consumer report," as defined by the FCRA, concerning

        the Plaintiff to Adecco.

49.     The consumer report produced by the Defendant contained information that was

        misleading and inaccurate.




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 7 of 13
                                                                                                Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
50.     Defendant did not review the consumer report to assure that it was maximally

        accurate in violation of the FCRA.

51.     The foregoing violations were willful. Defendant acted in deliberate or reckless

        disregard of its obligations and rights of Plaintiff and other putative class

        members under the provisions of the FCRA. Defendant's willful conduct is

        reflected by, among other things, the following facts:

        a.     Defendant is a large corporation with access to legal advice through
               its own General Counsel's office and outside counsel;

        b.     Defendant committed multiple violations of the FCRA by producing a
               consumer report that was both inaccurate and misleading;

        c.     Defendant produced a consumer report that was not maximally accurate.

52.     Plaintiff and the putative class are entitled to statutory damages of not less than

        $100 and not more than $1000 for each and every one of these violations,

        pursuant to 15 U.S.C. §1681n(a)(1)(A).

53.     Plaintiff and the putative class members are also entitled to punitive damages for

        these violations, pursuant to 15 U.S.C. §1681n(a)(2).

54.     Plaintiff and the putative action class members are further entitled to recover their

        costs and attorneys’ fees, pursuant to 15 U.S.C. §1681n(a)(3).

WHEREFORE, the Plaintiff respectfully requests that this Court issue an Order for the

following:

        a.    Order that this action may proceed as a class action under Rule 52 of the

               Missouri Rules of Civil Procedure;

        b.     Order designating Plaintiff as class representative and designating

               Plaintiff’s counsel as counsel for the Putative Class;




      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 8 of 13
                                                                                               Electronically Filed - Cole Circuit - August 24, 2017 - 11:18 AM
         c.     Order directing proper notice to be mailed to the Putative Class at

                Defendant's expense;

         d.     Order finding that Defendant committed multiple, separate violations of

                the FCRA;

         e.     Order finding that Defendant acted willfully in deliberate or reckless

                disregard of Plaintiff's rights and its obligations of the FCRA;

         f.     Order awarding statutory damages and punitive damages as provided the

                FCRA;

         g.     Order awarding reasonable attorneys’ fees and costs as provided by the

                FCRA; and

         h.     Order granting other and further relief, in law or equity, as this Court may

                deem appropriate and just.

                                       Demand for Jury Trial

         Plaintiff hereby demands a jury trial on all causes of action and claims with
respect to which Plaintiff and all members of the proposed classes have a right to jury
trial.
By: /s/ C. Jason Brown
Charles Jason Brown MO 49952
Jayson A. Watkins MO 61434
Brown & Associates LLC
301 S. US 169 Hwy
Gower Missouri 64454
Tel: 816-505-4529
Fax: 816-424-1337
brown@brownandwatkins.com
watkins@brownandwatkins.com
ATTORNEYS FOR PLAINTIFF




     Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 9 of 13
             IN THE 19TH JUDICIAL CIRCUIT COURT, COLE COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 17AC-CC00435
 PATRICIA S JOYCE
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 SAVIER KNOX                                                        CHARLES JASON BROWN
                                                                    301 S US HIGHWAY 169
                                                              vs.   GOWER, MO 64454-9116
 Defendant/Respondent:                                              Court Address:
 FIRST ADVANTAGE BACKGROUND                                         301 E HIGH
 SERVICES CORP.                                                     JEFFERSON CITY, MO 65101
 Nature of Suit:
 CC Other Miscellaneous Actions                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: FIRST ADVANTAGE BACKGROUND SERVICES CORP.
                                      Alias:
  C/O CSC-LAWYERS INCORP SERVICE
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                           Thursday, August 24, 2017
                                        _______________________________                 _______________________________________________________
                                                      Date                                                       Clerk
         COLE COUNTY                   Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 17-SMCC-658                    1 of 1                 Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17      Page
                                                                      54.13, and 54.20; 10  of –13
                                                                                        506.120  506.140, and 506.150 RSMo
                                                                                               Electronically Filed - Cole Circuit - August 24, 2017 - 11:20 AM
                                                                                17AC-CC00435

                IN THE CIRCUIT COURT OF COLE COUNTY MISSOURI

SAVIER KNOX,               )
Individually And On Behalf Of
                           )
All Others,                )
                           )
     Plaintiffs,           )
                           )                          Case No.:
vs.                        )
                           )
FIRST ADVANTAGE BACKGROUND )
SERVICES CORP.,            )
     Defendant.            )

                                 ENTRY OF APPEARANCE

       COMES NOW Jayson Watkins and hereby enters his appearance as counsel of record

for Plaintiff and those similarly situated in the above captioned matter.


                                                      Respectfully submitted,

                                                      By: /s/ Jayson A. Watkins
                                                      Jayson A. Watkins MO #61434
                                                      Brown & Watkins LLC
                                                      301 S. US 169 Hwy
                                                      Gower Missouri 64454
                                                      Tel: 816-505-4529
                                                      Fax: 816-424-1337
                                                      watkins@brownandwatkins.com
                                                      ATTORNEY FOR PLAINTIFF




       Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 11 of 13
Electronically Filed - Cole Circuit - September 07, 2017 - 11:21 AM




                                                                      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 12 of 13
Electronically Filed - Cole Circuit - September 07, 2017 - 11:21 AM




                                                                      Case 2:17-cv-04192-BCW Document 1-1 Filed 09/28/17 Page 13 of 13
